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EXHIBIT “E”
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MENTAL HEALTH REVIEW:

check as appropriate)
Do you hear voices?

YES | NO Observations:

Do you have thoughts of hurting yourself or others?

Do you have a history of depression?

ls there impaired speech?

ls there evidence of self-mutilation?

is the inmate oriented to time, place, and person? J

*Are there tendencies of acting out with sexually aggressive behavior?

"Is the inmate identified as high risk with a history of sexually assaultive behavior?
‘Is there a risk for sexual victimization?

Other significant observations

("Inmate identified above shall be counseled, monitored, and housed accordingly.)

Suicide attempts: (circle one) Yes fs) S

If yes, how many times?

lf yes, why/where/when/how: LZ

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Past Psychiatric Hospitalizations/Outpatient Tyéatments/Partial Hospitalizations:

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Previous Diagnosis as stated by Inmate: (Lp tM mm PTSD

Psychotropic Medications, Dosage and Frequency: ZoloC+ rb pus pa—

When last taken: ul { Al 1%

Psychiatric referral is needed (Circle those that apply): Yes «2d Emergency Routine

Medical referral is needed (Circle those that apply): Yes “ed Emergency Routine
if yes, indicate date and time referral was made:

Date Time

is inmate medically cleared for general population? fe No

Access to medical services explained to inmate? No

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Interviewer Signature, Title ' C. Zadelveee, RN * Inmeite Signfture” 7 Date

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Witness (If inmate refuses to sign) Date Interpreter Signature (If needed) Mit'91
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